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                                                          Case No: 14-00326-CL13

                           UNITED STATES BANKRUPTCY COURT
                                          Southern District of California - San Diego
In re:     Michael Edward Rothbart                                               Case No:          14-00326-CL13

                                                                                 Chapter:          13
  Property Address: 14441 Range Park Road Poway, CA 92064
  Last four digits of any number you use to
  Identify the debtor’s account:    ******7583
  Court Claim No. (if known) 8


                                   RESPONSE TO NOTICE OF FINAL CURE PAYMENT
As contemplated by Fed. R. Bankr. Proc. 3002
HSBC Bank USA, National Association as Trustee for Wells Fargo Asset Securities Corporation, Mortgage Pass-Through
Certificates Series 2006-AR11
("Creditor") hereby responds to that certain Notice of Final Cure Payment ("Cure Notice") dated July 03, 2019 and filed as Docket No.
130


                                                     Pre-Petition Default Payments                 Applicable option is checked.

   Agrees that Debtor(s) has paid in full the amount required to cure the default on Creditor’s claim
   Disagrees that Debtor(s) has paid in full the amount required to cure the default on Creditor’s claim and states that the total amount
   due to cure pre-petition arrears is:
Total Amount Due:       $0.00
Attached as Schedule of Amounts Outstanding on Prepetition Claim is an itemized account of the pre-petition amounts that remain
unpaid as of the date of this response.


                                                    Post-Petition Default Payments                   Applicable option is checked.

    Agrees that Debtor(s) is current with respect to all payments consistent with § 1322(b)(5) of the Bankruptcy Code.
    Disagrees that Debtor(s) is current with respect to all payments consistent with § 1322(b)(5), and states that the total amount
    due to cure post-petition arrears is:
Total Amount Due:      $0.00               *The loan is paid in full.

Attached as Schedule of Amounts Outstanding Post-Petition Claim is an itemized account of the post-petition amounts that remain unpaid
as of the date of the Cure Notice. The amounts outstanding identified on the Schedule do not reflect amounts that became or may become
due after the date of the Cure Notice, including any fees that may have been incurred in the preparation, filing, or prosecution of this
response to the Cure Notice.

The amounts due identified on this response may not, due to timing, reflect all payments sent to Creditor as of the date of the Cure Notice.
In addition, the amounts due may include payments reflected on the NDC but which have not yet been received and/or processed by
Creditor.




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                              UNITED STATES BANKRUPTCY COURT
The person completing this Notice must sign it. Sign and print your name and your title (if any), and state your address and telephone if different from
the notice address listed on the proof of claim to which this Supplement applies.


Check the appropriate box


        I am the Creditor                     I am the Creditor’s authorized agent. (Attach copy of power of attorney, if any).




 X    /s/ Raymond Jereza                                                    X      07/22/2019
          Signature                                                                       Date(MM/DD/YYYY)

  First Name: Raymond                                         Middle Name:                                        Last Name: Jereza
  Title: Attorney (CA SBN 277762)
  Company: Aldridge Pite, LLP
  Address: 4375 Jutland Drive, Suite 200; P.O. Box 17933
  City: San Diego                                             State: CA                                           Zip: 92177-0933
  Phone: (858) 750-7600




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                            UNITED STATES BANKRUPTCY COURT

                                                       Certificate of Service

I hereby certify that a copy of the foregoing Response to Notice of Final Cure Payment was served on the parties listed below by postage
prepaid U.S. Mail, First Class or served electronically through the Court’s ECF System at the e-mail address registered with the Court on

Date: July 22, 2019

Chapter 13 Trustee:            David L. Skelton
Trustee Address:               525 B St., Suite 1430
                               San Diego, CA 92101-4507
Trustee’s Email:               admin@ch13.sdcoxmail.com


Debtor’s Counsel Name:         Gerald L. Bohart
Debtor’s Counsel Address:      9988 Hibert St., Suite 208
                               San Diego, CA 92131
Debtor’s Counsel Email:        gbohart@bohartlaw.com



Debtor 1 Name:                 Michael Edward Rothbart
Debtor’s Mailing Address:      14441 Range Park Road
                               Poway, CA 92064




                                                                                     /s/ Justin N. Wade




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